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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GREA YS MENDOZA
                                                                CIVIL ACTION
                  v.
                                                                NO. 18-2005
DIVERSIFIED CONSULTANTS, INC.


                                           MEMORANDUM

SURRICK, J.                                                                           JUNEIY, 2019

        Presently before the Court is Defendant's Partial Motion for Judgment on the Pleadings

Seeking Dismissal of Plaintiffs Claims Under the Fair Debt Collection Practices Act. (ECF No.

12.) For the following reasons, the Motion will be granted in part and denied in part.

I.      BACKGROUND

        In this action, Plaintiff Greays Mendoza alleges that Defendant Diversified Consultants,

Inc. violated the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA") and

the Telephone Consumer Protection Act, 42 U.S.C. § 227, et seq. ("TCPA"). The action was

originally filed in the Court of Common Pleas of Montgomery County. It was removed to this

Court on May 11, 2018. (Notice of Removal, ECF No. 1.) In this Motion, Defendant seeks

dismissal of Plaintiffs claims under the FDCPA-Counts 2 and 3. 1

        A.        Factual Background

        Plaintiff lives in Norristown, Pennsylvania. (Compl.     ~   6, Notice of Removal Ex. 1.)

Defendant is a consumer debt collection business with its principal place of business located in

Jacksonville, Florida.   (Id.~   7.) Plaintiffs mother, Isabel Bermudez, was the creditor subject to



        1
            Defendant does not seek dismissal of Plaintiffs claim under the TCPA (Count 1) at this
time.
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Defendant's collection activity. (Id.     ii 14.)   As a result of a consumer credit transaction, Ms.

Bermudez's account went into collections. (Id.          ii 15.)   Neither Plaintiff nor Plaintiffs mother

provided Defendant with Plaintiffs cell phone number. (Id.             ii 17.)   Defendant contacted Plaintiff

on Plaintiffs cell phone "on several occasions" about her mother's consumer debt. (Id.                    ii 20.)
Plaintiff alleges that several of Defendant's calls were made using an automatic telephone

dialing system. (Id.   ii 21.)   Plaintiff never provided "express consent" to receive automated

telephone calls on her cell phone.      (Id.~   24.) Plaintiff alleges that she received "no less than 10

automated calls" on her cell phone about her mother's consumer debt. (Id.                  ii 28.)   In February

2018, Defendant contacted Plaintiffs cell phone using the following telephone numbers:

(a) 215-372-1655; (b) 215-372-1685; and (c) 215-372-1688. (Id.                ii 44.)   Plaintiff states that,

despite using area codes associated with Pennsylvania telephone numbers, Defendant originated

the calls from its office in Jacksonville, Florida. (Id.      iii! 45-48.)   Plaintiff alleges that this use of

"false caller ID" constitutes "spoofing" in violation of the FDCP A. (Id.               iii! 50-52.)
       B.      Procedural History

       On March 30, 2018, Plaintiff filed a complaint in Montgomery County. (Compl.) On

May 11, 2018, the case was removed to this Court. (Notice of Removal.) Defendant filed an

Answer to the Complaint on May 18, 2018. (ECF No. 5.) On September 7, 2018, Defendant

filed this Motion for Judgment on the Pleadings. (Mot. Jgmt., ECF No. 12.) Plaintiff filed a

Response to the Motion on October 1, 2018. (Pl.'s Resp., ECF No. 17.) On October 5, 2012,

Defendant filed a Reply. (ECF No. 18.)

II.    LEGALSTANDARD

       Rule 12(c) of the Federal Rules of Civil Procedure permits a party to move for judgment

on the pleadings "[a]fter the pleadings are closed-but early enough not to delay trial." Fed. R.



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Civ. P. 12(c). The court evaluates a Rule 12(c) motion under the same standard as a motion to

dismiss pursuant to Rule 12(b)(6). See Turbe v. Gov 't of VI, 938 F.2d 427, 428 (3d Cir. 1991);

see also Rosenau v. Unifund Corp., 539 F.3d 218, 221 (3d Cir. 2008) ("Under Rule 12(c),

judgment will not be granted unless the movant clearly establishes that no material issue of fact

remains to be resolved .... "(citation omitted)). "The only notable difference between these two

standards is that the court, for a motion on the pleadings, reviews not only the complaint but also

the answer and written instruments attached to the pleadings." Brautigam v. Fraley, 684 F.

Supp. 2d 589, 591 (M.D. Pa. 2010) (citation omitted).

        Under Rule 12(b)(6), a complaint may be dismissed for "failure to state a claim upon

which relief can be granted." "To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to 'state a claim to relief that is plausible on its face."'

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell At!. Corp. v. Twombly, 550 U.S. 544,

570 (2007)). A complaint that merely alleges entitlement to relief, without alleging facts that

show entitlement, must be dismissed. See Fowler v. UPMC Shadyside, 578 F.3d 203, 211 (3d

Cir. 2009). This "'does not impose a probability requirement at the pleading stage,' but instead

'simply calls for enough facts to raise a reasonable expectation that discovery will reveal

evidence of the necessary element." Phillips v. County ofAllegheny, 515 F.3d 224, 234 (3d Cir.

2008) (quoting Twombly, 550 U.S. at 556).

III.   DISCUSSION

       Defendant seeks dismissal of Counts 2 and 3, both of which were brought under the

FDCPA. In Count 2, Plaintiff alleges that Defendant, in an attempt to collect a debt owed by

Plaintiffs mother, engaged in unlawful, illegal, and unconscionable activity, in violation of 15




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U.S.C. § 1692f.2 Specifically, Plaintiff alleges that Defendant violated the TCPA by contacting

her using an automatic telephone dialing system, and that this in turn violated the FDCP A. In

Count 3, Plaintiff alleges that Defendant violated the FDCP A by using telephone numbers with

215 Pennsylvania area codes. Specifically, Plaintiff alleges that the use of Pennsylvania area

codes on calls that originated from Florida was both "unfair and unconscionable" under 15

U.S.C. § 1692f, and "false, deceptive, or misleading" under 15 U.S.C. § 1692e. 3 Plaintiff

contends that Defendant's conduct was deceptive because it "created the false impression that

the call originated from a local caller to entice" Plaintiff or Plaintiffs daughter to take the call."

(Compl. il 53.)

        A.        Standing to Assert Claim Under FDCPA

       As an initial matter, we must address Defendant's standing argument. Defendant

contends that Plaintiff lacks standing to bring a claim under the FDCPA because she is not a

"consumer" as contemplated by the Act. To establish standing, a plaintiff must allege facts

demonstrating that she suffered "(1) an injury-in-fact; (2) that is fairly traceable to the

defendant's challenged conduct; and (3) that is likely to be redressed by a favorable judicial

decision." St. Pierre v. Retrieval-Masters Creditors Bureau, Inc., 898 F.3d 351, 356 (3d Cir.

2018) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 590 (1992)). Defendant argues that,

because the debt was owed by Plaintiffs mother and not Plaintiff, Plaintiff could not have been




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         Section l 692f of the FDCPA prohibits a debt collector from using "unfair or
unconscionable means to collect or attempt to collect any debt." 15 U.S.C. § 1692f. The section
provides a non-exhaustive list of conduct that is deemed unfair and unconscionable. Id.

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        Section 1692e of the FDCP A generally prohibits a debt collector from using "any false,
deceptive, or misleading representation or means in connection with the collection of any debt."
15 U.S.C. § 1692e. The section provides a non-exhaustive list of prohibited conduct. Id.

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injured by Defendant's conduct. Defendant contends that Plaintiff therefore fails to establish the

first element of the standard.

        The FDCP A is a consumer protection statute that prohibits certain abusive, deceptive,

and unfair debt collection practices. See 15 U.S.C. § 1692. It is the purpose of the FDCPA "to

eliminate abusive debt collection practices by debt collectors, to insure that those debt collectors

who refrain from using abusive debt collection practices are not completely disadvantaged, and

to promote consistent State action to protect consumers against debt collection abuses." 15

U.S.C. § 1692(e). As a remedial statute, "the FDCPA must be broadly construed in order to give

full effect to [this purpose]." Caprio v. Healthcare Revenue Recovery Grp., LLC, 709 F.3d 142,

148 (3d Cir. 2013) (citations omitted). The FDCPA expressly authorizes "a private cause of

action against debt collectors who fail to comply with [its requirements]." Lesher v. Law Offices

of Mitchell N Kay, PC, 650 F.3d 993, 996-97 (3d Cir. 2011) (citing 15 U.S.C. § 1692k(d)).

       Defendant's standing argument runs contrary to the FDCPA's private-enforcement

provision. That provision, Section 1692k, states that "any debt collector who fails to comply

with any provision of this subchapter with respect to any person is liable to such person .... "

15 U.S.C. § 1692k (emphasis added). Based on the express language of the statute, a cause of

action belongs to "any person" who is aggrieved by a debt collector's conduct. The statute does

not limit civil enforcement remedies to debtors or to "consumers," who are defined as "natural

person[s] obligated or allegedly obligated to pay any debt." 15 U.S.C. § 1692a(3). The Third

Circuit has interpreted the FDCPA broadly to grant standing to aggrieved non-debtors, stating

that the statute "is intended to protect both debtors and non-debtors from misleading and abusive

debt-collection practices." Beck v. Maximus, Inc., 457 F.3d 291, 294 (3d Cir. 2006) (permitting

plaintiff who was contacted by student loan servicer to bring FDCPA claims even though she did



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not have an outstanding student loan); see also Wenrich v. Robert E. Cole, P. C., No. 00-2588,

2001 WL 4994, at *3 (E.D. Pa. Dec. 22, 2000) ("Federal courts interpret Section 1692k(a) as a

broad grant available to persons who are not obligated or allegedly obligated to pay the debt that

the defendant sought to collect." (citation omitted)).

       Certain sections of the FDCP A do require a plaintiff to be a consumer to assert a cause of

action. See, e.g., 15 U.S.C. § 1692g. However, the sections that Plaintiff alleges Defendant

violated do not have such a requirement. Simply because Plaintiff did not owe a debt to

Defendant does not preclude her from bringing claims against Defendant under Sections 1692e

and 1692f of the FDCPA. Plaintiff alleges that Defendant made at least ten phone calls to

Plaintiffs cell phone using an automated telephone dialing system. Plaintiff further alleges that

she suffered emotional distress because of these calls. (Compl. if 65.) Plaintiff has alleged an

injury-in-fact and has standing with respect to the FDCPA claims asserted in her Complaint. See

Yentin v. Michaels, Louis & Assocs., Inc., No. 11-0088, 2011WL4104675, at *17 (E.D. Pa.

Sept. 15, 2011) (holding that non-debtor wife had standing to assert claims under the FDCPA

because she alleged harm as a result of defendant's conduct); Eley v. Evans, 476 F. Supp. 2d 531,

533 (E.D. Va. 2007) (holding that driver ofrepossessed vehicle had standing to assert claims

under FDCPA even though he was not the debtor because "any aggrieved party may bring an

action under the FDCPA" (emphasis in original)); Dutton v. Wolhar, 809 F. Supp. 1130, 1135

(D. Del. 1992) (concluding that son who received letter regarding debt incurred by his father had

standing to bring suit under FDCP A). Plaintiff here has standing to assert claims under the

FDCP A against Defendant.




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        B.       Use of Local Area Codes on Caller ID Under the FDCPA

        In Count 3, Plaintiff alleges that Defendant, a company based in Florida, contacted

Plaintiff by using telephone numbers with 215 Pennsylvania area codes as the caller

identification. Plaintiff alleges that Defendant's use of these local phone numbers was "unfair

and unconscionable" in violation of 15 U.S.C. § 1692f and "false, deceptive, or misleading" in

violation of 15 U.S.C. § 1692e. She alleges that the use of these numbers "created the false

impression that the call originated from a local caller to entice Plaintiff or Plaintiffs daughter to

take the call." (Compl. ii 53.) The act of using local telephone numbers to appear on a

recipient's caller ID is referred to as "spoofing." (Id.   ii 51.)
       In a nearly identical case in this District, Plaintiffs mother-Isabel Bermudez-brought

claims against Defendant under Sections 1692e and 1692f of the FDCPA, arguing that

Defendant's use of the 215 Pennsylvania area code was both deceptive and unconscionable. See

Bermudez v. Diversified Consultants Inc., No. 18-2004, 2019 WL 415569, at *3 (E.D. Pa. Feb. 1,

2019). The court concluded that the Defendant's use of local area codes did not violate either

section of the FDCPA. We agree with the court's thorough and well-reasoned opinion.

                1.     False, Deceptive, or Misleading under 15 US. C. § l 692e

       It is a violation of Section 1692 of the FDCPA for a debt collector to use "any false

representation or deceptive means to collect or attempt to collect any debt or to obtain

information concerning a consumer." 15 U.S.C. § 1692e. "[A] specific plaintiff need not prove

that she was actually confused or misled, only that the objective least sophisticated debtor would

be." Jensen v. Pressler & Pressler, 791 F.3d 413, 419 (3d Cir. 2015) (emphasis in original).

"The gist of§ 1692e is that 'where some aspect of a debt collector's communication-whether

explicit or implied-has the purpose or effect of making a debtor more likely to respond, the



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FDCPA requires that it be true."' Sparks v. Phillips & Cohen Assocs., Ltd., 641 F. Supp. 2d

1234, 1248 (S.D. Ala. 2008); see also LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1193

(11th Cir. 2010).

        Section 1692e includes 16 subsections that outline a non-exhaustive list of specific acts

that violate the act. Within the statute's list of potential violations, Section 1692e prohibits: "the

false representation that the debt collector is ... affiliated with the United States or any state"

(15 U.S.C. § 1692e(l)); the false representation of"the character, amount, or legal status of any

debt" (id. § 1692e(2)(A)); "the false representation or implication an individual is an attorney or

that any communication is from an attorney" (id. § 1692e(3)); "the threat to take any action that

cannot legally be taken or that is not intended to be taken" (id. § 1692e(5)); "[t]he use of any

false representation or deceptive means to collect or attempt to collect any debt or to obtain

information concerning a consumer" (id.§ 1692e(10)); and "[t]he use of any business, company,

or organization name other than the true name of the debt collector's business, company or

organization." (id. § 1692e(14)).

       Plaintiff has not identified any specific subsection that Defendant allegedly violated.

However, "[a] debt collection practice may violate the FDCPA even if it does not fall within any

of the enumerated circumstances set forth in Section 1692e." Larsen v. JBC Legal Grp., P.C.,

533 F. Supp. 2d 290, 299 (E.D.N.Y. 2008); see also 15 U.S.C. § 1692e (noting that the list of

specific instances of violative conduct is provided "[w]ithout limiting the general application" of

the statute's prohibition against false or deceptive means to collect a debt). We must therefore

assess whether Defendant's use oflocal area codes violates Section 1692.

       "In determining whether conduct not specifically prohibited by a subsection of§ 1692

nevertheless constitutes a violation, courts have contrasted the alleged conduct with the



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specifically listed conduct and considered the closeness of fit." Bermudez, 2019 WL 415569, at

*3 (citing cases). In Bermudez, the court determined that the list of prohibited conduct in Section

1692e generally falls into three categories: "misleading consumers about the debt collector's

identity; about the character of the debt itself, and about the consequences of a consumer's

decision about the debt." Id. Here, as was the case in Bermudez, Plaintiff contends that

Defendant's use of telephone numbers with local area codes was intended to entice Plaintiff to

answer the phone call even though the call had not originated from Pennsylvania. This

allegation presumably falls under the first category-conduct meant to mislead about the debt

collector's identity. In Bermudez, the court concluded that use of a local area code did not

violate Section 1692e because the statute is meant "to protect consumers from being misled

about the nature of who the debt collector on the phone is, not merely from where that debtor

collector is calling." Bermudez, 2019 WL 415569. We agree.

       The FDCPA does not define "deceptive." Generally, "to deceive" means "to cause to

accept as true or valid, what is false or invalid." Merriam-Webster's Collegiate Dictionary 297

(10th ed. 2000). By using a local area code, Defendant was not inducing Plaintiff to accept

something inaccurate. The telephone numbers validly belong to Defendant. 4 The appearance of

those local area code telephone numbers on Plaintiffs caller ID is not false or deceptive. See

Bermudez, 2019 WL 415569, at *3; see also Glover v. Client Servs., Inc., No. 07-81, 2007 WL

2902209, at *4 (W.D. Mich. Oct. 2, 2007) (dismissing claim under Section 1692e where debt

collector caused plaintiffs caller ID to display "unavailable" when it called because no false

information was transmitted to plaintiff).


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          Defendant admits that it used 215 area codes to call Plaintiffs phone when Defendant's
office is located in Jacksonville, Florida. (Answer irir 44-45.) Defendant contends that it was
trying to reach Plaintiffs mother, Isabel Bermudez, and not Plaintiff, when it made those calls.
(Answer ir 44.)

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        The situation would be different ifDefendant had an actual person's name listed on the

Plaintiff's caller ID. See, e.g., Knoll v. Allied Interstate, Inc., 502 F. Supp. 2d 943, 948 (D.

Minn. 2007) (denying motion to dismiss claim under Section 1692e where debt collector used

actual fictitious name on caller ID device). That would be providing false information to the

recipient of the call. However, in this case, Defendant was not providing false information when

it used telephone numbers with 215 area codes to contact Plaintiff. See Bermudez, 2019 WL

415569, at *4 ("This Court finds that the use of a particular phone number, by a Defendant

whose business location is covered by a different area code, is not materially misleading

information or prohibited conduct under the FDCP A."); see also Scheffler v. Integrity Fin.

Partners, Inc., No. 12-188, 2013 WL 9768539, at *4 (D. Minn. Oct. 28, 2013) (holding, on

motion for summary judgment, that there was no FDCPA liability when debt collector used local

telephone number to contact debtor).

               2.      Unfair and Unconscionable under 15US.C.§1692/

       Plaintiff also argues that Defendant's conduct is actionable under Section l 692f, which

prohibits the use of "unfair or unconscionable means to collect or attempt to collect any debt."

15 U.S.C. § 1692f. Similar to Section 1692e, Section 1692f enumerates certain specific unfair

or unconscionable acts and states that the list is non-exhaustive. See 15 U.S.C. § 1692f.

       Plaintiff does not allege any specific subsection under which she asserts a claim. Instead,

she generally alleges that Defendant's use oflocal area code telephone numbers to appear on her

caller ID was unconscionable because it violated the Truth in Caller ID Act (the "ID Act"). The

ID Act was a 2010 amendment to Section 227 of the TCP A, which was aimed at prohibiting "the

manipulation of call-identification information." Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368,

373 n.2 (2012). The ID Act prohibits the use of a caller identification system "to knowingly



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transmit misleading or inaccurate caller identification information with the intent to defraud,

cause harm, or wrongfully obtain anything of value." 47 U.S.C. § 227(e). Plaintiff has not

alleged any facts to suggest that Defendant intended to defraud, cause harm, or wrongfully obtain

anything of value. Defendant's use of local telephone numbers does not, by itself, violate the ID

Act.

        Moreover, Plaintiffs allegations do not in any way relate to the types of acts that are

prohibited by Section l 692f, nor do they reveal conduct by Defendant that can be construed as

unfair or unconscionable. Section 1692f prohibits debt collectors from: collecting amounts not

expressly authorized by agreement or law; soliciting, accepting, or depositing postdated checks;

charging individuals for communications by debt collectors; threatening nonjudicial action;

communicating through post cards; and using any language or symbol except for the debtor's

address on envelopes. 15 U.S. C. § 1692f. Plaintiff complains that Defendant used Pennsylvania

phone numbers to appear on her caller ID in an attempt to entice her to take the call. This

complaint is wholly unrelated to the specific types of "unfair and unconscionable" conduct

addressed by Section 1692f. See Bermudez, 2019 WL 415569, at *5 (noting that "an

examination of the list of enumerated prohibitions in § 1692f reveals that the conduct [of using

local telephone numbers] is not the type of conduct against which § 1692f was designed to

protect consumers"); see also Benyamin Grandovsky v. Hayt & Landau, LLC, No. 15-6451, 2015

WL 7313863, at *3 (D.N.J. Nov. 20, 2015) (dismissing claim under Section 1692fwhere

plaintiff failed to allege facts showing that defendant's acts were "'unfair or unconscionable'

along the lines of the examples in the statute").

       Plaintiffs allegations do not state a claim under either Section 1692e or Section l 692f of

the FDCP A. As a result, Count 3 will be dismissed.



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IV.    CONCLUSION

       For the foregoing reasons, Defendant's Partial Motion for Judgment on the Pleadings

Seeking Dismissal of Plaintiffs Claims Under the Fair Debt Collection Practices Act will be

granted in part and denied in part. Count 3 will be dismissed. Defendant's Motion as to Count 2

will be denied.

       An appropriate Order follows.

                                                   BY THE COURT:




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